                         Case 1:23-mj-00088-GMH Document 1 Filed 04/27/23 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                           UNITED STATES DISTRICT COURT
                                                                                    for the
                                                                         District of &ROXPELD

                   United States of America                                            )
                              v.                                                       )
                                                                                       )         Case No.
                         Daniel Ball
                                                                                       )
                        DOB: XXXXXX                                                    )
                                                                                       )
                                                                                       )
                              Defendant(s)


                                                            CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                             January 6, 2021                          in the county of                                            in the
                             LQWKH'LVWULFWRI             &ROXPELD , the defendant(s) violated:

              Code Section                                                                          Offense Description
      18 U.S.C. § 111 (a) (1) and (b)- Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapopn
      18 U.S.C. § 844 (h)- Using fire or explosive to commit any felony
      18 U.S.C. § 231 (a)(3) - Civil Disorder.
      18 U.S.C. § 2- Aiding and Abetting
      18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority,
      18 U.S.C. § 1752(a)(2) - Disorderly or disruptive conduct in, a restricted building or grounds,
      18 U.S.C. § 1752(a)(4)- Engaging in physical violence in a Restricted Building or Grounds,
      18 U.S.C. § 1752(b)(1)(A)Entering and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon,
      40 U.S.C. § 5104(e)(2)(D) - Disorderly conduct in a Capitol Building,
      40 U.S.C. § 5104(e)(2)(F)- Acts of physical violence in the Capitol Grounds or Buildings.
      40 U.S.C. § 5104(e)(2)(G)- Parade, demonstrate or Picket in ant of the Capitol Grounds.
      18 U.S.C. § 641- Stealing any thing of value of the United States

           This criminal complaint is based on these facts:
   6HHDWWDFKHGVWDWHPHQWRIIDFWV




          9
          u   Continued on the attached sheet.


                                                                                                                           Complainant’s signature

                                                                                                           Barry Michael Kays , Special Agent
                                                                                                                            Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                                                      Digitally signed by
                                                                                                                                      G. Michael Harvey
Date:              04/27/2023
                                                                                                                                 Judge’s signature

City and state:                            :DVKLQJWRQ'&                                            G. Michael Harvey, U.S. Magistrate Judge
                                                                                                                            Printed name and title
